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                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA

NATIONAL RAILROAD PASSENGER                        *
CORPORATION (AMTRAK),
                                                   *        CIVIL ACTION NO. 1:22-CV-01043
        PLAINTIFF,
                                                   *
v.
                                                   *
SUBLEASE INTEREST OBTAINED PURSUANT
TO AN ASSIGNMENT AND ASSUMPTION OF *
LEASEHOLD INTEREST, et al.
                                    *
      DEFENDANTS.
                                    *
*     *     *     *        *  *     * * *   *    *    *   *
    JOINT REQUEST FOR STATUS CONFERENCE REGARDING SETTLEMENT

        In accordance with this Court’s limited retention of jurisdiction under the Stipulated

Judgment entered in this matter on March 7, 2025 (Docket No. 184), Plaintiff National Railroad

Passenger Corporation (“Amtrak”) and Defendants (“Lender”) 1 hereby request a status

conference with the Court to address a disagreement that has arisen regarding implementation of

the parties’ settlement agreement. Amtrak and Lender have attempted to resolve the

disagreement without aid of the Court but, regretfully, it appears they are at an impasse. The

parties’ disagreement is reflected in the correspondence attached as Exhibits 1-4 to this Request.

Accordingly, the parties request a status conference with the Court.




1
 “Lender” refers to Defendants Kookmin Bank Co. Ltd, individually and in its capacity as trustee of KTB CRE
Debt Fund No. 8, a Korean Investment Trust, and its agent on behalf of said Trust in Korea, Daol Fund Management
Co. and its agent on behalf of said Trust in United States, Rexmark Holdings LLC d/b/a Rexmark along with Union
Station Investco, LLC.
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                             Respectfully submitted,

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                             PASSENGER CORPORATION

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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 2nd day of May 2025, a copy of the foregoing pleading
was served on all counsel of record by filing on the Court’s ECF System.

                                            /s/ Patricia McHugh Lambert
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